UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

 

MICHAEL TWEED,
14Cv4154 (LDvW (WDW)
Plaintiff,

-against-

GLEN COVE CITY SCHOOL DISTRICT,
GLEN COVE SCHOOL DISTRICT BOARD
Of EDUCATION, and MARIA RIANNA, in her
official capacity as SUPERINTENDENT

of SCHOOLS,

Defendants.

 

 

PLAINTIFF’S MEMORANDUM OF LAW lN OPPOSITION OF
DEFENDANTS’ MOTION TO DISMISS

 

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PRELIMINARY STATEMENT

Plaintiff, Michael Tweed commenced this action to correct an injustice of constitutional
proportion When after he uncovered and reported criminal conduct occurring within Glen Cove
High School and was then fired for no legitimate reason. Specifically, Mr. Tweed reported
criminal conduct of the High School Principal, Assistant Principal, and another administrator
who surreptitiously (1) changed final grades and/or Regents test scores for two students, and (2)
then allowed the affected Students to graduate and receive a high school diploma even though
neither student qualified according to New York Education Law. Their criminal conduct was
spumed on in part by local politics. Mr. Tweed reported the conduct first to the school
superintendent and then cooperated with Nassau County District Attorney’s Office. Despite
getting assurances that he would be protected under whistleblower laws, the Defendants advised
him several months before the expiration of his probationary employment he was being fired.

BACKGROUND FACTS

Mr. Tweed was hired by Glen Cove City School District as Coordinator of Pupil
Personnel Services. See Scheuermann Decl., Exh. A. A part of his projected duties included
turning around the school district’s guidance department that was in disarray. Amended
Complaint, 11118-19. lThroughout his tenure as the Coordinator of Pupil Personnel Services Mr.
Tweed performed his duties admirably. 11116, 19-24, 54, 57, 5 8, and 63. At the beginning of the
2012-13 school year, an employee raised issues about a student that had graduated, with the
approval of high school principal, though the student never had successfully completed courses
or passed particular regents examinations 11128-29. Eventually, other teachers complained that
another student had also graduated, though he likewise never had successfully completed courses

or passed particular regents. E. Grade changes require the approval of the affected teacher and

 

1 References to the Amended Complaint are referenced by the 1[ symbol.
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high school administration Graduation determinations are the sole responsibility of the high
school principal.

Mr. Tweed heard about the complaints, investigated them, but was afraid to report the
administrators’ criminal conduct for fear of retaliation, as he Was a non-tenured administrator
11{27 At the persistence of two employees, Mr. Tweed eventually reported the misconduct of
principal and assistant principal about the first student to then Superintendent of Schools Joseph
Laria in March, 2013. 1130 In April 2013, Mr. Tweed then reported to Dr. Laria the criminal
conduct of another administrator involving the second student who was involved in illegally
changing the Regents grade of the other student. 1131, 33.

Mr. Tweed cooperated with the District’s investigation and then with District Attorney’s
criminal investigation 1131, 33, 35, 44-45; Scheuermann Decl., Exh. B. In fact, Mr. Tweed met
with an Assistant District Attorney on May 30, 2013. While a Nassau County Grand Jury
convened to consider criminal charges against certain school district employees was disbanded
(1[45), the District Attorney’s Office has publicly stated as recently as July, 2014 that its
investigation was still pending. Scheuermann Decl., Exh. C.

As a result of Mr. Tweed reporting the criminal behavior of high school administrators,
Joseph Hinton, the high school principal was immediately suspended, forced to retire and
eventually surrendered his teaching and administrator licenses to the New York State Education
Department. 1150. The High School Assistant Principal, Allen Hudson was denied access to the
District’s student management system, but still continues to work for the school district. 1[51.
On September 24, 2013, Mr. Hudson entered into a settlement agreement with Glen Cove High
School in lieu of formal disciplinary charges in which he admitted he created an inaccurate
record for a Glen Cove High School student with respect to a New York State Regents Exam

assessment, and paid a fine totaling $26,750. 1152; Scheuermann Decl., Exh. D, p. 3. Mr.
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Hudson further agreed to enter into a separate Settlement Agreement With the New York State
Education Department. Id., at p. 5. Finally, also on September 24, 2013, Melanie Arfman,
another administrator in the school district entered into a settlement agreement with Glen Cove
High School to settle disciplinary charges filed on June 25, 2013, in exchange for her admission
that she altered a Regents Examination grade of a Glen Cove High School student in violation of
NYSED procedure, and agreement to pay a fine totaling $26,750. Scheuermann Decl., Exh. E,
p. 3. Ms. Arfman further agreed to enter into a separate Settlement Agreement with the New
York State Education Department. E., at p. 4.

Back in May, 2013, individual members of the Board of Education improperly,
maliciously, willfully disclosed Mr. Tweed’s identity as a whistleblower to the community. 1137.
Subsequently, Mr. Tweed learned from school district employees, parents and community
members that certain members of the Board of Education were furious at him cooperating and
were planning to fire him when his probationary term expired. 1111 38-40. After Dr. Laria was
forced to resign in May, 2013 (1] 46), Mr. Tweed learned that a certain faction of the Board was
intending to fire any employee associated with Dr. Laria in bringing the corruption to light. 1147.

Despite learning of the retaliatory animus against him, Mr. Tweed continued to perform
his duties in exemplary fashion. 1111 54, 57-60, 63. In a series of meetings with his direct
supervisor, Dr. Israel, in the months following the start of School in September 2013, Mr. Tweed
pressed Dr. lsrael about his tenure status. 1157. Neither of Mr. Tweed’s direct supervisors, Dr.
Michael Israel or Louis Zocchia had any issues with his performance 111157, 60-61, 63. In early
February, 2014 Dr. Israel confided that he did not know anything about Mr. Tweed’s tenure,
implying that the decision was only Defendant Rianna’s with input from the Defendant Board.
11161-62. On February 12, 2014, Defendant Rianna advised Mr. Tweed that she would not

recommend him for tenure, thereby firing him effective June 30, 2014. Mr. Tweed Was the only

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probationary employee up for tenure, but not granted tenure. 1165. Even a probationary teacher
working under Mr. Tweed’s supervision whom Mr. Tweed recommended to Defendant Rianna
be granted tenure, was recommended by Defendant Rianna for tenure. 1166.

Although she earlier told Mr. Tweed that she had no issues with his performance (115 8),
Defendant Rianna then concocted several baseless grounds attempting to justify his firing in the
blatant retaliation against Mr. Tweed. 1157. Mr. Tweed refuted the claims. 111174-75.
Subsequently, living up to its earlier warning, the Board terminated Mr. Tweed’s employment in
violation of his rights as part of its informal policy or custom to get rid of anyone associated with
the corruption investigation 111167, 91-94. This lawsuit ensued.

STANDARD OF PROOF

When ruling on a motion to dismiss pursuant to Federal Rule of Civil Procedure 12(b)(6),
the Court must “accept all of the plaintiffs factual allegations in the complaint as true and draw
inferences from those allegations in the light most favorable to the plaintiff.” Starr v. Gcorgcson
S'holder, Inc., 412 F.3d 103, 109 (2d Cir. 2005). A complaint should be dismissed only if it fails
to contain enough allegations of fact to state a claim for relief that is “plausible on its face.” Be_ll
Atl. Corp. v. Twombly, 550 U.S. 544, 127 S.Ct. 1955, 167 L.Ed.2d 929 (2007); see also M
v._lq@, 556 U.S. 662, 678, 129 S.Ct. 1937, 173 L.Ed.2d 868 (2009). ln considering a motion to
dismiss, “the issue is not Whether a plaintiff will ultimately prevail but whether the claimant is
entitled to offer evidence to support the claims.” T odd v. Exxon Corp., 275 F.3d 191, 198 (2d

Cir.2011).

In assessing the legal sufficiency of a claim, the Court may consider those facts alleged in
documents that are “integral” to plaintiffs claims, even if not explicitly incorporated by

reference See Cortec lndus., Inc. v. Sum Holding L.P,, 949 F.2d 42, 46-48 (2d Cir.1991); Smart

v. Goord 441 F.Supp.2d 631, 637 (S.D.N.Y.2006) (‘[W]hile courts generally do not consider

 

matters outside the pleadings, “they may consider documents attached to the pleadings,
documents referenced in the pleadings, or documents that are integral to the pleadings in order to

determine if a complaint should survive a 12(b)(6) motion.”’ quoting Garcia v. Lewis No. 05

 

Civ. 1153, 2005 WL 1423253, at *3 (S.D.N .Y. June 16, 2005)); U.S. Fid. & Guar. Co. v.
Petrolco Brasileiro S.A.-Petrobras. No. 98 Civ. 3099, 2001 WL 300735, at *2 (S.D.N.Y. Mar.
27, 2001) (“[T]he Court can consider documents referenced in the complaint and documents that
are in the plaintiffs' possession or that the plaintiffs knew of and relied on in bringing suit.”).
ARGUMENT
POINT I
THE FIRST AMENDMENT RETALIATION CLAIM IS VALID
Defendants argue that PlaintifF s First Amendment Retaliation claim is legally
insufficient because (1) his speech was not constitutionally protected and (2) lacked temporal
proximity, but do not challenge that the pleadings adequately allege an adverse employment

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action Whether an employee’s speech was made pursuant to his official duties is ‘a practical
one,’ Weintraub v. Bd. ofEduc., 593 F. 3d 196, 202 (2nd Cir. 2010) quoting Garcetti v. Ceballos,
547 U.S. 410, 424, 126 S.Ct. 1951, 164 L.Ed.2d 689 (2006), focusing on Whether the speech
“was part-and-parcel of his concerns about his ability to properly execute his duties.” Weintraub
v. Bd. of Educ., 593 F. 3d at 203 (internal quotation marks omitted). However, the inquiry of
whether the employee is speaking pursuant to his official duties is not susceptible to a bright line
rule. Ross v. Breslin, 693 F. 3d 300 (2nd Cir., 2012). Courts must examine the nature of the
plaintiffs job responsibilities, the nature of the speech, and the relationship between the two ; and

consider other contextual factors, including whether the complaint was conveyed to the public.

Ross v. Breslin, 693 F. 3d at 306 (citations omitted).
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Whether an employee’s Speech addresses a matter of public concern is a question of law
to be determined based on the “content, form and context of a given statement, as revealed by the
whole record.” l.ewis v. Cowen, 165 F.3d 154, 163 (2nd Cir. 1999) citing Connick v. Mycrs, 461
U.S. 138, 147-48 (1983), n 7. An “[e]mployee’s expression is not a matter of public concern
when it ‘cannot be fairly considered as relating to any matter of political, social, or other concern
to the community’.” Singh v. City oi"New Yol'k, 524 F3d. 361, 372 (2nd Cir. 2008) quoting
M, 461 U.S. at 146. However, criminal conduct relating to public education is generally
recognized as a matter of public concern (1188) See Ciot`i'i v. Averill Park Cent. Sch. Dist., 444
F.3d 15 8, 164 (holding, in part that criminal activity in schools is of “social” or “other” concern
to communities); Ramirez v. I'lemnstead Urlion 17 rec Sch. Dist. Bd. of Educ., _F.Supp.2d_,
(2014 WL 3547374) *11 (E.D.N.Y.)(denying defendant’s motion to dismiss finding that school
employee reporting unlawful and illegal inflation of student grades to procure county and state
funding constituted speech that touched on a matter of public concern); see also Tueker v. City
Of`New York, _F.Supp.2d_, 2011 WL 2893077, *5 (S.D.N.Y.) (holding that allegations of
corruption and misuse of public funds by supervisors and coworkers are matters of public
concern); see generally, Jackler v. Byrne 658 F.3d 225 (2nd Cir. 2011) (holding that speech
pertaining to police misconduct is a matter of public concem).

Accepting Plaintiff` s allegations as true, he reported that the high school administrators
“tampered with official school district records by changing two students’ failing classroom
grades and/or New York State Regents grades” to enable the unqualified students to graduate.
111128-29. He first complained in March 2013 to then superintendent of schools Dr. Laria. 111130.
Plaintiff followed that up with additional meetings including one with school attorney,
Christopher Powers, Esq. in April, 2013. Plaintiff then cooperated with a criminal investigation

commenced by the Nassau County District Attorney’s Office (1111 34-35, 44-45) in late May,
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2013, which investigation the Nassau County District’s Attorney Office has noted is still ongoing
as of July, 2014. See Scheuermann Decl., Exh. B. Plaintiff spoke as a private citizen when he
cooperated with the Nassau County District Attorney’s Office and the Nassau County Grand

Jury Investigation (111134-35, 44-45; Scheuermann Decl., Exh.C). Kaluc'z.kv v. City of White

 

Plains, 57 F. 3d 202, 210 (2d. Cir. 1995); See also Bcnedict v. Town ofNewburgh, 95 F. Supp.

 

2d 136, 143 (S.D.N.Y. 2000) (holding that “testifying truthfully is constitutionally protected
from retaliation and that it is a right existing wholly apart from the First Amendment protection
of speech generally, and Without the need to sow that the testimony relates to a matter of public
concern” .

Contrary to Defendants’ contentions (MOL, p. 9), Plaintist speech did not involve
issues with transcripts, but rather, improper grade changes for classes and Regents examinations
lt also involved the subject administrators conspiring to award high school diplomas to two
students Who did not qualify. Contrary to Defendants’ superficial contention those required
actions are not within Plaintiff” s primary duties as discovery will establish. The Amended
Complaint does not allege that Plaintiff oversaw grade changes or approved students to graduate
As discovery will reveal, Plaintiff was not responsible for changing classroom grades or Regents
examination scores. Additionally, Plaintiff has no authority or responsibility as to which
students may graduate or not. As shown by relevant Board Policies and New York
Commissioner of Education Regulations, functions related to grade changes and who may
graduate are the exclusive responsibility of the teacher With direct supervision and ultimate
approval of the high school principal. See Scheuermann Decl., Exhs. F and G. Hence, at this
early stage in the case, accepting Plaintiff’ s averments as true, it cannot be said as a matter of law
that criminal tampering with classroom and Regents grades and/or the corresponding illegal

approval of unqualified students to graduate Were part and parcel of his primary duties.

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Moreover, since there is no bright line rule relating to what speech constitutes matters Within the
primary duties of a public employee’s duties, discovery needs to occur to learn exactly what was
the nature of the Plaintiff s job responsibilities, the nature of the speech and the relationship
between the two before a Court can be decided whether the plaintiff can continue to pursue his
First Amendment retaliation claim. Matthews v. City oi` New York, 488 Fed Appx. 532, 533 (2nd
Cir. 2012) (summary order).

Every case cited by the Defendants is inapposite because they involve summary judgment
motions, with the exception of Platt v. Inc. Village of Southampton, _ F.Supp.2d _, 2009 WL
3076099 (E.D.N.Y.) aff d 391 Fed Appx, 62 (2d Cir. 2010). Platt is distinguishable because in
that case the plaintiff reported an affair between the police chief and a subordinate which on its
face clearly did not involve a matter of public concern 2009 WL 3076099 *5. ln addition the
Pl_att Court was evidently angered by the plaintiff pleading alleged retaliatory treatment that
arose before he engaged in protected activity and then attempted to supplement the pleadings to
alter those facts. ld., at *3 and 4.

Defendants also allege that Plaintiff has failed to sufficiently plead a causal connection in
his First Amendment Retaliation claim. ln order to establish a causal connection at the pleading
stage, the “allegations must be ‘sufficient to support the inference that the speech played a

substantial part in the adverse action.”’ Davis v. Goord 320 F.3d 346, 354 (2d Cir.2003); see

 

also Shekhem' El-Bev v. City of`New Yorl£, 419 F.Supp.2d 546, 552 (S.D.N.Y.2006). The
Second Circuit has no bright line for how close in time the adverse employment action must

follow the protected activity in order to sustain the causation element. Cioffi v. Averill Park

Cent. Sch. Dist. Bd. ofEd., 444 F. 3d 158, 167-68 (2nd Cir. 2006) (quoting Morris v. Lindau, 196

 

F.3d 102, 110 (2nd Cir. 1999). On a motion to dismiss, a reasonable inference of a causal

connection is all that is required. See Posr v. Court Officer Shie!d # 207, 180 F.3d 409, 418 (2d

 

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Cir.1999) (“[T]he plaintiffs pleading need not clearly establish that the defendant harbored
retaliatory intent. lt is sufficient to allege facts which could reasonably support an inference to
that effect.”); Rivera v. Cmtv. Sch. Dist. Nine. 145 F.Supp.2d 302, 309 (S.D.N.Y.2001). This
“can be established either indirectly by means of circumstantial evidence, for example, by

showing that the protected activity was followed by adverse treatment in employment, or directly

by evidence of retaliatory animus.” Morris v. Lindau 196 F.3d 102, 110 (2d Cir.1999). A court

 

must “exercise its judgment about the permissible inferences that can be drawn from temporal
proximity in the context of [each] particular case [ ],” Espinal v. Goord, 558 F.3d 119, 129 (2d
Cir.2009). Where a plaintiff asserts enough direct evidence of retaliatory animus to create a
triable question of fact on the issue of a causal connection as here, a longer lapse between the
protected speech and the adverse employment action does not necessarily “conclusively establish
lack of causation.” See Mandel v. County of Suffolk, 316 F.3d 368, 384 (2nd Cir. 2003).
Defendants’ argument that the causal link is too attenuated must fail. MOL, pp. 9-10. As
pled, the Amended Complaint “establishes a causal connection that suggests retaliation by
showing that protected activity was close enough in time to the adverse action.” Espinal v.
wl 558 F.3d at 129 citing Clark Ctv. Sch. Dist. v. Breed@, 532 U.S. 268, 273~74, 121 S.Ct.
1508, 149 L.Ed.2d 509 (2001)). Plaintiff last reported about the criminal conduct to the Nassau
County District’s Attomey Office on or about May 30, 2013. (1144) Scheuermann Decl., Exh. B.
On February 12, 2014, Defendant Rianna advised Mr. Tweed that she would not recommend him
for tenure ln and between his protected speech and notification of his termination Plaintiff
repeatedly received evidence from employees, parents and community members of retaliatory
animus by a certain faction of the Board of Education. (111136-40). ln this time frame also Dr.
Laria was abruptly forced out (1154) and then Board President Joel Sunshine suddenly resigned.

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Juxtaposed to the expressed retaliatory animus and abrupt departures of the district’s past
Board President and Superintendent was the averment that the High School Assistant Principal,
who was forced to negotiate a disciplinary settlement based on the information supplied by Mr.
Tweed (usually a career killer), was actively being considered by the new Defendant Board for
the high school principal position in the Spring 2014 (1177), which raises the reasonable inference
that the segment of the Board who expressed retaliatory animus toward Plaintiff, may have done
so in part to protect the assistant principal, whom they supported.

Moreover, by law, the anticipated adverse employment action i.e., denial of an
affirmative tenure recommendation was only due by April 30, 2014, 60 days before the end of
Plaintiff s probationary term ending on June 30, 2014. See Education Law §303 1. lt would
have looked overtly retaliatory to have terminated him in July 2013, when the Defendant Board
of Education changed its composition due to May 2013 elections, or in August -October, 2013,
when Mr. Sunshine resigned around the execution of the disciplinary settlements involving the
remaining administrators that included admissions of guilt regarding grade fixing/tampering
(1149; Scheuermann Decl., Exhs. H, l, and J). Hence, it is remarkable that Defendant Rianna
revealed the Defendants retaliatory action as early as February 12, 2014 instead of April 30,
2014. Based on all of these factors, it is respectfully submitted that the early notice of
termination Plaintiff received on February 12, 2014, more than adequately establishes sufficient
causation at this stage in the proceedings See Mandel v. County of Suffolk, 316 F.3d at 384;
Richardson v. New York State Dep’t of Corl'. Service 180 F.3d 426, 446-47 (2d Cir.1999) (acts
within one month of receipt of deposition notices may be retaliation for initiation of lawsuit more
than one year earlier); Grant v. Bethlchem Steel Com., 622 F.2d 43, 45-46 (2d Cir.1980) (eight

month gap between EEOC complaint and retaliatory act suggested causal relationship).

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POINT II

PLAINTIFF’S FOURTEENTH AMENDMENT CLAIMS MUST
SURVIVE THE MOTION TO DISMISS

A. Plaintiff has sufficiently alleged an Equal Protection cause of action

Defendants correctly point out that the United States Supreme Court in l`:`,ngguist v.
Oregon Dcp't of Agr., 553 U.S. 591 (2008), held that “class of one” claims no longer exist in a
public employment setting. This being said, Defendants incorrectly attempt to categorize the
Plaintiff as falling within a class of one The Amended Complaint very clearly alleges that the
Plaintiff was one of several individuals including the ousted Superintendent, who were being
targeted by the defendants in retaliation for their protected whistleblowing activities These
individuals were treated differently with malicious retaliatory animus than similarly situated
other District employees, including those who committed the illegal acts reported by Plaintiff,
with the express illegal intent to punish whistleblowers. Thus, Plaintiff has successfully alleged
belonging to a class that consists of more than one individual.

Additionally, Plaintiff has successfully alleged an equal protection cause of action under
a selective enforcement theory of liability. The courts within the Second Circuit are divided
whether such a selective enforcement is permitted in the wake of Engguist and in the wake of the
ambiguity, many analyze whether such a cause of action has been successfully alleged. Q_<_:Llil_e
LN_ulty, 769 F. Supp. 2d 573, 583 (S.D.N.Y. 2011); citing Kamholt?. v. Yatcs Countv. 350
Fed.Appx. 589, 591 (2d Cir.2009), Faulks v. City of l'lal'tford. 2010 WL 259076, at *7 (D.Conn.
2010), Slou[; v. Loefi'ier. 2008 WL 3978208, at *14 n. 18 (E.D.N.Y. 2008).

The elements of a selective enforcement cause of action are “(1) that [s]he Was treated
differently from others similarly situated, and (2) that such differential treatment was based on

impermissible considerations such as race, religion intent to inhibit or punish the exercise of

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constitutional rights, or malicious or bad faith intent to injure a person” Fierro v. New York City
Deg't of Educ., 994 F. Supp. 2d 581, 592-93 (S.D.N.Y. 2014), appeal dismissed (Apr. 9. 2014`).

quoting Gentile, 769 F.Supp.2d at 578.

 

lt is without a doubt that the Plaintiff has successfully alleged the necessary elements of a
selective enforcement of both the Education Law processes behind granting tenure and the
applicable collective bargaining agreement by the defendants With regard to the first element,
similarly situated individuals, a plaintiff need not provide evidence of similarly situated
individuals at the motion to dismiss stage, so long as the facts as alleged to permit a jury to
conclude that they are similarly situated. Vaher v. Town of Orangetown. N.Y., 916 F. Supp. 2d
404, 434-35 (S.D.N.Y. 2013), citing Mosdos Chofctz Chaim. Inc. v. Vill. of Weslev l-lil|s, 815 F.
Supp. 2d 679, 697 (S.D.N.Y. 2011). The Amended Complaint clearly alleges that there were
other probationary employees who were up for tenure in the Spring of 2014, none of whom were
either denied tenure or asked to extend their probationary periods so that Superintendent Rianna
has sufficient time to evaluate them. (111165, 66).

As to the second element of the selective enforcement cause of action it is without a
doubt that the Amended Complaint has successfully alleged that the differing treatment by the
defendants was in order to punish the Plaintiff for exercising his First Amendment rights as a
whistleblower and was done maliciously and With the bad faith intent to harm him. Notably, the
Amended Complaint is replete with examples of individuals approaching the Plaintiff to warn
him that the Defendants were out to get all involved in the whistleblowing and were going to fire
him. (111137-40, 46-47, 74) lt is further alleged several times that these actions by the defendants
were done maliciously and in bad faith. (111168, 74, 76, 79, 86, 91-94, 97-100, 104-105, 108)

Thus, it is clear that Plaintiff has successfully alleged a selective enforcement cause of

action that must survive as a matter of law.

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B. Plaintiff has sufficiently alleged a Due Process cause of action

1. Due Process Property Interest

Plaintiff admits that as a probationary employee, he has no constitutionally protected
property interest in his employment See, chal v. City ol`New York, 459 F.3d 207, 211 (2d Cir.
2006). This being said, plaintiff does have a constitutional property interest in his educational
licenses which are effectively taken away through the Defendants’ campaign to blacklist the
Plaintiff in the field of public education This case, particularly at this early juncture, is factually
similar to Mudgc v. Zugalla, 2014 WL 2453353, at *8 (N.D.N.Y. June 2, 2014), where at the
motion to dismiss level it was held that the failure of a plaintiff to avail himself of an Article 78
proceeding was not fatal to his stigma-plus cause of action ln M_udg§, the plaintiff, a substitute
teacher, alleged termination of at-will employment in connection with a calculated effort to
prevent the plaintiff from obtaining employment and using his licenses when the defendants
including investigators from the State Education Department were spreading untruths to potential
employers l_d. The court held that discovery was necessary to ascertain the Defendants’ exact
roles to establish Whether the defendants were low level government officials and whether the
actions alleged were random or specifically designed to deprive the plaintiff of his constitutional
rights l_d.

ln the instant action Plaintiff has clearly alleged that the Defendants have engaged in a
systematic campaign to blacklist him with the intention of preventing him from finding
employment in the field of education on Long lsland. (1179) The inability to find Work within the
field of public education also implicates the loss of his constitutional property right in his
educational licenses Thus, Plaintiff s due process property claims must survive as a matter of

law.

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2. Substantive Due Process

ln order to successfully allege a claim for a substantive due process violation it must be
alleged that the government action being challenged was “arbitrary, conscience shocking, or
oppressive in a constitutional sense.” Carmody v. Vill. of Rockville Ctr., 661 F. Supp. 2d 299,
337 (E.D.N.Y. 2009), citing Pisello v. Town of Brookhavcn. 933 F.Supp. 202, 214
(E.D.N.Y.1996), Kaluczkv v. City of`White Plains. 57 F.3d 202, 211 (2d Cir.1995)). Substantive
due process does not protect against government action that is “incorrect or ill-advised.” l_d.L
citing Kaluczky, 57 F.3d at 211. There is no clear standard for what actions are deemed
conscience shocking, but it has been held that it stems from actions that are “malicious and
sadistic abuses of government power that are intended only to oppress or to cause injury and
serve no legitimate government purpose unquestionably shock the conscience Such acts by their
very nature offend our fundamental democratic notions of fair play, ordered liberty and human
decency.” .Iohnson v. Newburgh Enlarged Sch. Dist., 239 F.3d 246, 251-52 (2d Cir. 2001), citing
Cly. of Sacramemo v. Lewis, 523 U.S. 833, 847 (1998), Breithaupt v. Abrani, 352 U.S. 432, 435
(1 95 7).

There can be absolutely no doubt that the allegations contained within the Amended
Complaint go straight to the heart of a substantive due process claim. The very idea that a
person’s livelihood through tenure, which is supposed to be determined through a fair evaluation
of an administrator’s job performance, is denied in open and blatant retaliation for reporting
illegalities and improprieties within public education absolutely offends the notations of fair play
and shocks the conscience There is no reasonable interpretation of the actions alleged within the
Amended Complaint that would result in the malicious targeting of a whistleblower as being
merely “incorrect or ill advised.” Even if such a definition is up for debate, it is inapplicable in a

motion to dismiss stage and a simple reading of the Amended Complaint amply demonstrates

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that conscience shocking behavior has been sufficiently alleged to permit this cause of action to
continue through to discovery as a matter of law.
3. Stigma Plus
A probationary employee in the field of public education may still be entitled to due
process protections under what is known as a stigma-plus theory of liability. &ga_l, , 459 F.3d at

212-13, citing Patterson v. City of Utica. 370 F.3d 322, 330 (2d Cir.2004); DiBlasio v. Novello

 

344 F.3d 292, 302 (2d Cir.2003). ln order to satisfy the stigma aspect of such a cause of action
three components must be alleged. The first component requires an allegation that the defendants
made statements that called into question either the plaintiffs “good name, reputation honor, or
integrity” or his “competence as a professional and impugn the employee’s professional
reputation in such a fashion as to effectively put a significant roadblock in that employee’s

continued ability to practice his or her profession” Ld., citing Patterson 370 F.3d at 330,

 

Donato v. Plainview~()ld Bethpage Cent. Sch. Dist.` 96 F.3d 623, 630_31 (2d Cir.1996). The
second element requires that such stigmatizing statements were made public. 11, The third
component of the stigma aspect is an allegation that the statements “were made concurrently
with, or in close temporal relationship to, the plaintiffs dismissal from government
employment.” Lz citing Velez v. Levy. 401 F.3d 75, 89 (2d Cir.2005); Patterson, 370 F.3d at
330, 335.

ln their motion Defendants do not challenge that plaintiff has sufficiently alleged
stigmatizing statements made by the defendants to warrant survival of the instant motion to
dismiss Rather, Defendants claim that Plaintiff has failed to adequate plead a deprivation of a

tangible property right (the “plus”) and that the defendants publicly made defamatory statements

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a. Deprivation of tangible interest

The deprivation of government employment, such as the denial of tenure in the field of
public education is a sufficient tangible interest for a stigma-plus claim as a matter of law.
&ga_l, 459 F.3d at 212-13. ln the instant action Plaintiff has alleged that he was denied tenure
within the Defendant District as Coordinator of Pupil Personnel Services in direct retaliation for
his whistleblowing activities (111176, 78) Thus, he has met the deprivation of a tangible interest as
a matter of law.

b. Lack of adequate due process/Procedural due process

Defendants correctly assert that courts have held a proceeding pursuant to Article 78 of
the Civil Practice Law and Rules can be sufficient due process to clear an at-will employee’s
name in a stigma-plus context, as well as satisfy any procedural due process concerns lt is
exactly the reason why plaintiff alleged a cause of action sounding in such relief within the
Amended Complaint. (Amd Complaint, 4th Cause of Action). The ability of this Court to hear
such a cause of action will be addressed below, but it is significant to note that Defendants are
attempting to have their cake and eat it too when it comes to an Article 78 claim. ln one breath,
they claim that an Article 78 proceeding is necessary and in the next they claim that Plaintiff is
not entitled to one under an election of remedies cause of action

Nevertheless, Plaintiff would be remiss if it was not pointed out that an Article 78
proceeding is not necessary in this particular case. Plaintiff respectfully directs the Court to the
description of the facts in the case Mge, 2014 WL 2453353 at *8 within Point ll(B)(l) above
ln that matter, the court held that discovery Was necessary to ascertain whether an Article 78
proceeding was an appropriate remedy when it was alleged that the Defendants were engaging in
a pattern of conduct designed to prevent the plaintiff from finding future employment and,

consequently, denied him of his protected property rights in his educational licenses § Those

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facts mirror the allegations herein and it is therefore necessary that discovery take place as a
matter of law.
(c) The publication

With regard to the second element, the stigmatizing statement being made public, the
Amended Complaint makes several references to the fact that people other than the Defendants
including community members PTA members and District support staff, were coming to the
Plaintiff and informing him that the Defendants were going to fire him due to his whistleblowing
activities (111137-40, 46-47, 74) Further, Plaintiff was publically identified as a whistleblower in
the press the day after the Defendants voted to terminate his employment. (1178)

Additionally, the Second Circuit Court of Appeals has clearly held that stigmatizing
statements placed within a personnel file are sufficient to satisfy the contemporaneous public
disclosure element. &gL 459 F.3d at 213, citing Brandl v. Bd. of Cooo. Educ. Scl'vs.. 820 F.2d
41, 45 (2d Cir.1987). The blatantly false and defamatory examples of Plaintiff s incompetence
were provided to the Defendant Board of Education and its members along with Plaintiffs
extensive proof that the excuses were false Defendant Board of Education and its individual
members completely disregarded the truth and used it as pretext for terminating Plaintiff in
retaliation for his whistleblowing activities As these statements were part and parcel of the
Plaintiff s employment with the District, they are, upon information and belief, contained within
his personnel file Thus Plaintiff has adequately alleged the publication aspect of a stigma plus

claim as a matter of law.

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POINT III

THE BOARD OF EDUCATION AND ITS MEMBERS ARE
“PERSONS” UNDER 1983 AND ARE SUABLE.

Contrary to Defendant’s bald assertion the Supreme Court has consistently held that a
local municipality, such as a Board of Education is an appropriate party along with its members

acting in their official capacity for damages under 42 U.S.C. §1983. Fitzgerald v. Barnstable

Sch. Comm. 555 U.S. 246, 129 S.Ct. 788, 797, 172 L.Ed.2d 582 (2009) (citation omitted); see

 

also Monell v. Dep't of Soc. Servs., 436 U.S. 658, 691, 98 S.Ct. 2018, 56 L.Ed.2d 611 (1978)
(holding the same as to a school board); Beattie v. Madison County Sch. Dist., 254 F.3d 595, 600
n 2 (5th Cir.2001) (“Under § 1983, [Plaintiff] may sue a local governing body, such as the
school district, or the School board as policymaker for the district, for monetary, declaratory, or
injunctive relief if the challenged action implements or executes a policy officially adopted by
the body's officers.”). This principle of law can be traced backed to the 1871 legislative history

of the predecessor statute to 42 U.S.C. §1983. Monel| v. Dep’t ofSoc. Servs., 436 U.S. 658,

 

supra at 688-89.

At this early stage in the proceedings Plaintiff is entitled to all reasonable inferences
from the facts alleged in the Amended Complaint and documents incorporated pursuant to Rule
12(c) (See Scheuermann Decl) that clearly establish a prima facie constitutional violation of Mr.
Tweed’s rights See Points l and ll supra. The Complaint also sufficiently pleads a custom or
policy adopted by Defendant Board of Education and its members that caused the alleged
constitutional violations of Mr. Tweed’s rights even though such a policy and/or custom was not
publicly adopted as such. Monell v. Dep't of Soc. Servs., 436 U.S. at 690.

Specifically the Amended Complaint alleges that starting in May 2013, a segment of the

Board (and a group of its individual members) expressed a new policy objective and/or custom

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to terminate the employment of any employee who was associated with reporting the criminal
conduct associated with the testing scandal within the school district. (111137-40, 46-47, 74). As
required by law, Board elections then occurred in May 2013, resulting in the change of one
Board member effective July 2013 (lda McQuair did not seek reelection and was replaced by
Richard Maccarone) and elected Donna Brady as President of the Board and election of Donna
Brady as President of the Board. See Education Law §1702; Scheuermann Decl., Exh. H. The
make-up of the Board was further changed with the sudden departure of Board President Joel
Sunshine, in August 2013 (111142, 49; Answer 1149). Scheuermann Decl., Exh. l. The Board
handpicked Defendant Maureen Pappacristou, who successfully ran for the vacant board seat by
Mr. Sunshine in October, 2013 (Amd. Compl., 115) Scheuermann Decl., Exh. J. Based on these
events a reasonable inference is that the faction of the Board that had verbalized its intent to fire
anyone associated with the investigation had successfully became the majority of the Board by
October 2013 and then implemented its policy and/or custom of terminating the employment of
these employees one of whom was Mr. Tweed. The power to terminate the employment of any
probationary employee resides with the Defendant Board and its individual members with the
involvement of the superintendent of schools whom the Board had recently hired and supervised
(Education Law § 1711). See Education Law §§ 1709, 3012, 3019a, 3031. l-lurdlc v. Bd. of
Educ. of Citv of New York, 113 Fed. Appx. 423, 425, (2d Cir. 2004). As further alleged, the
Defendant Board and its individual members in their official and individual capacities then
violated Mr. Tweed’s constitutional rights by terminating his employment in fulfillment of the
execution of their recent policy and/or acquired custom. (111168, 74, 76, 79, 86, 91-94, 97-100,
104-105, 108) Accordingly, the Amended Complaint sufficiently establishes a claim for
damages against the Defendant Board and its members acting in their official capacity under 42

U.S.C. §1983. See Valenti v. Massancqua Union Free Sch. Dist., 2010 WL 475203 (E.D.N.Y.

 

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2010); Huff v. West Haven Bd. of Educ., 10 F.Supp.2d 117, 121-22 (D. Conn. 1998) quoting
Monell v. Den’t of Social Services of City of New York, at 690; see also Kantrowitz v.
Uniondale Union Free Sch. Dist., 822 F. Supp. 2d 196 (E.D.N.Y. 2011).

Defendants citation to a minority view expressed by some courts in the Second Circuit is
procedurally and substantively different than the case at bar. With the exception of Desir v. Bd.
of Co-op Educ. Servs., 2008 WL 4508735, (E.D.N.Y. 2008), all of the cases Defendants relied
on were decided at summary judgment after discovery and an opportunity to fully develop a
factual record. As to the D_es£ case, it dealt with the typical garden variety constitutional lawsuit
prosecuted by an incompetent teacher that has inundated the federal court system over the last
twenty years That due process and equal protection case is factually different than the case at
bar because the plaintiff in De_sir did not plead the required elements of a Mo_nell claim that the
constitutional violation was based on the policy makers’ established policy or custom, as done
here

Substantively, every case referenced by the Defendants relate back to the Second
Circuit’s decision in Monell v. Dep’t of Social Services of Citv of New York. 532 F.2d 259, 263
(2d Cir. 1976), which was subsequently overruled by the United States Supreme Court. See,

Monell v. Den’t of Social Services of City of New York, supra. Notably, Gentilc v. Walien 562

 

F.2d 193 (2d Cir.1977), predated the Supreme Court’s reversal of Mone11 and was
therefore,expressly overruled by the Supreme Court. lnasmuch as Montefusco v. Nassau Ctv., 39
F. Supp. 2d 231, 238 (E.D.N.Y. 1999), and Mazza v. I-lendrick Hudson Cent. Sch. Dist., 942 F.

Supp. 187, 192 (S.D.N.Y. 1996), directly relied on Gentile they lack any precedential value to

 

instant case Also, because Desir v. Bd. of Co-on Educ. Servs., at *2 then exclusively relied

upon Mazza supra, and Seiis v. Rocliester Citv Sch. Dist., 192 F. Supp. 2d 100 (W.D.N.Y.

 

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2002), affd 99 Fed. Appx, 350 (2d Cir. 2004), cited only to Montefusco, they lack binding
authority here
POINT IV

THE COURT SHOULD EXERCISE SUPPLEMENTAL JURISDICTION

The court has the authority to exercise pendent jurisdiction over state law claims that
stem from a “common nucleus of operative fact”. Moore v. County of Suffolk, 851 F.Supp.2d
447, 458 (E.D.N.Y. 2012). Constitutional claims are sufficient to support jurisdiction over
pendent state law claims when the constitutional claim are not wholly insubstantial or obviously
frivolous l_d.

Defendants’ memorandum of law cite to several cases that are not on point. First, in
Cushing v. Moore, 654 F.2d 189, 192 (2d Cir. 1981), the court did not even consider
supplemental jurisdiction because the complaint was dismissed due to lack of federal
jurisdiction Here, the Plaintiff s constitutional causes of action are sufficiently alleged within the
Amended Complaint to allow for continued survival of the state law claims

Similarly, Cave v. l`:`ast Meaclow Union F rec School Dist., 514 F.3d 240, 250 (2d Cir.
2008), is inapplicable here ln that case, supplemental jurisdiction was not exercised because the
Court lacked federal jurisdiction to hear plaintiffs federal ADA claims due to the plaintiff s
failure to exhaust the required administrative remedies Ld. There are no administrative remedies
that Plaintiff had to follow prior to filing the instant case Therefore, hearing the Plaintiff s state
law claims here is appropriate

Since the court has original jurisdiction to hear the federal claims asserted by Plaintiff, it
should also exercise its right to supplemental jurisdiction to hear the state claims Since, the court

has not dismissed all federal claims over which it has original jurisdiction it should therefore not

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decline to exercise supplemental jurisdiction However, if the court decides to dismiss all federal
claims Mr. Tweed requests it remand all state claims to a state court.
POINT V

THE NEW YORK CIVIL SERVICE LAW 5 TS-B CLAIM
SHOULD NOT BE DISMISSED

To state a claim under New York Civil Service Law § 75-b, the plaintiff must allege: (1)
that he disclosed information to a governmental body regarding what he reasonably believed to
be improper governmental action; (2) an adverse personnel action was taken against him; and (3)
there is a causal connection between the disclosure and the adverse personnel action R_uM
New York State Thruwav Aul'hority, 2014 WL 3891624, *6 (W.D.N.Y. 2014). The Plaintiff
acknowledges that a § 75-b claim may not be asserted against individual defendants however, it
may nevertheless be asserted against the Board of Education and the School District. The
Amended Complaint more than adequately alleges a cause of action under Civil Service Law §
75-b. lt is alleged that Plaintiff uncovered and reported grade alterations that permitted students
to graduate, who would have otherwise been unentitled to do so, which by any Standard could be
construed as improper governmental action (not to mention criminal conduct). The Amended
Complaint also clearly alleges that he was terminated from his employment with the Defendants
in direct retaliation for his Whistleblowing activities

Defendants’ contention that a violation of a specific law or regulation is simply
incorrect. “New York Civil Service Law § 75-b, unlike New York Labor Law § 740, does not
require a Plaintiff to allege a violation of a law, rule, or regulation that presents a danger to
public health or safety. Rather, under New York Civil Service Law § 75-b(2)(a)(ii), the Plaintiff
may alternatively allege what he reasonably believes to be true and which he reasonably believes

constitutes an improper governmental action.” Ramirez, 2014 WL 3547374 * 8. The facts in

 

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Ramirez are surprisingly similar to those at hand. Plaintiff uncovered a system of grade changing
within the Hempstead school district and reported such to the Commissioner of Education. ld. lt
was further alleged that this whistleblowing resulted in the Plaintiff s employment being
terminated. ld. The Court held that those facts were sufficient to survive a motion to dismiss and
that violations of specific laws or regulations need not be alleged. ld.

Defendants’ reliance on Batvreva v. New York City Dep’t of Educ. 19 Misc. 3d 1128(A)
(Sup. Ct., N.Y. Cty., 2008), rev on other grounds, 57 A.D.3d 322 (1St Dept., 2008), is misplaced.
ln that matter, the Plaintiff was merely alleging the violation of an internal policy concerning
what color ink was to be used for grading examinations ld. ln the instant action Plaintiff
disclosed information to the school district and the Nassau County District Attorney’s Office that
he believed to be improper governmental action and as a result he was retaliated against by the
district and Board of Education by having his employment terminated. As Plaintiff has plead all
essential elements of a § 75-b claim, the Defendant’s motion to dismiss should be denied.

POINT VI

THE COURT DOES NOT HAVE TO DISMISS PLAINTIFF’S
ARTICLE 78 CAUSE OF ACTION

Plaintiff s Fourth Cause of Action seeks to have the defendants’ actions deemed
arbitrary, capricious and contrary to law in accordance with CPLR Article 78. Defendants seek
to have this cause of action dismissed on the basis that it is not permitted under an election of
remedies theory and also on a jurisdictional basis Both positions are incorrect.

First, the idea that Plaintiff cannot allege an Article 78 cause of action due to the election
of a Civil Service Law §75-b whistleblower cause of action is erroneous ln New York, courts
State routinely hear both causes of action and even have upheld the availability of a

whistleblower claim brought within an Article 78 proceeding. See, Yan Pin;z Xu v. New York

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City Dep't of Health, 77 A.D.3d 40, 47 (1St Dept., 2010) (case reinstated and remanded for
hearing on sufficiency of petitioner’s notice and adequacy of internal remedies), citing Matter of
Garritv v. University at Albanv` 301 A.D.2d 1015 (3d Dept., 2003)(reinstating article 78 claim
alleging unlawful retaliatory discharge, although petitioner could not establish all elements of
whistleblower claim); Matter of Chamberlin v. .lacobson, 260 A.D.2d 317 (lSt Dept., 1999)(in
article 78 proceeding, petitioner failed to demonstrate that he was terminated solely for reasons
violative of Whistleblower's Law); Matter of Weber v. Countyr of Nassau. 215 A.D.2d 567 (2d
Dept., 1995), lv. dismissed in part, denied in part 87 N.Y.2d 1053 (1996) (in article 78
proceeding, trial court correctly directed trial of probationary employee's claim that she was
terminated in violation of Whistleblower's Law because she insisted on reporting child abuse by
a patient at the psychiatric hospital where she worked; petitioner ultimately did not establish
merits of claim).

Second, as for the jurisdictional aspects of Plaintiffs fourth cause of action there is a
dispute as to whether Federal Courts have authority to entertain Article 78 causes of action
Compare, Casale v. Metro. Transp. Auth.. 2005 WL 3466405, at *6 (S.D.N.Y. 2005); Nat'l Fuel

Gas Supulv Corp. v. Town of Wales. 904 F. Supp. 2d 324, 336 (W.D.N.Y. 2012); Cartagcna v.

 

City of New York, 257 F. Supp. 2d 708, 711 (S.D.N.Y. 2003). Despite these conflicting
decisions it is acknowledged that the vast majority of cases decline to hear such causes of action
and remand them to state court. This being said, Federal jurisdiction over an Article 78 claim is
not unheard of. ln Yonkers Racing Corp. v. City of Yonl<el‘s 858 F.2d 855, 865 (2d Cir. 1988),
the Second Circuit upheld jurisdiction over such a cause of action due to the risk of conflicting
orders and also because no one would lose any substantive rights due to Federal jurisdiction

(The cause of action was ultimately dismissed on the merits) Accordingly, it is submitted that

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the Court here has the authority to entertain the Article 78 cause of action and should to avoid

inconsistent decisions

Should the court decline jurisdiction over this matter, the appropriate remedy is to

remand the cause of action to State Court for a determination on the merits not dismissal.

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For the reasons set forth above, Defendants Motion to Dismiss should be denied in all

respects and the Court should grant any other, further and different relief that it deems just and

appropriate

Dated: January 5, 2015

TO:

SCHOOL ADMINISTRATORS ASSOCIATION
OF NEW YORK STATE

OFFlCE OF GENERAL COUNSEL,

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